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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                     Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.


       GOVERNMENT’S STATUS REPORT REGARDING MOTION IN LIMINE

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, respectfully submits this filing to advise the Court that the government

does not intend to file a motion in limine concerning the admissibility of the transcript of the

defendant’s congressional testimony because the parties have reached an agreement on this issue.

       On July 26, 2019, the government filed an unopposed motion to extend the deadline to

file a motion in limine concerning the admissibility of the transcript of defendant Roger Stone’s

testimony before the House Permanent Select Committee on Intelligence. Doc. 157. In that

motion, the government advised the Court that the parties had been unable to negotiate a

stipulation to the admissibility of the transcript. On July 29, 2019, the Court issued a minute

order granting the government’s motion and setting a deadline of August 23, 2019.

       On August 21, 2019, the government filed a second unopposed motion to extend the

deadline. Doc. 191. In that motion, the government explained that it was working to obtain a

copy of the audio recording of the defendant’s testimony in order to resolve the parties’ dispute

over the admissibility of the transcript. On August 22, 2019, the Court issued a minute order

granting the government’s motion and setting a new deadline of September 20, 2019.




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       On September 13, 2019, the government obtained a copy of the audio recording. The

government has provided a copy to defense counsel, and defense counsel has agreed not to

oppose the admission of the audio or the transcript. Based on this agreement, the government

does not intend to file a motion in limine on this issue.



                                                       Respectfully submitted,

                                                       JESSIE K. LIU
                                                       U.S. Attorney for the District of Columbia

                                                  By: /s/
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September 20, 2019




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